       Case 2:15-cr-00118-KJM Document 93 Filed 07/29/16 Page 1 of 3


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10   Attorney for Defendant Leon Fields
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13
14                           IN THE UNITED STATES DISTRICT COURT
15
16                         FOR THE EASTERN DISTRICT OF CALIFORNIA
17
18   UNITED STATES OF AMERICA,           )                 Case No. 2:15-CR-0118 GEB
19                                       )
20               Plaintiff,              )                 STIPULATION FOR CONTINUANCE
21                                       )                 OF STATUS CONFERENCE AND
22                                       )                 PROPOSED ORDER
23               v.                      )
24                                       )
25   LEON FIELDS, et al.                 )
26                                       )
27         Defendants.                   )
28   ____________________________________)
29
30           It is stipulated between the United States Attorney’s Office for the Eastern District of
31   California by Assistant United States Attorney Paul Hemesath , Esq. and Defendant Earshell
32   Hayes through his attorney Kelly Babineau; Defendant David William Dixon through his
33   attorney Gregory Foster; and Defendant Leon Fields through his attorney Philip Cozens, Esq.,
34   that:
35           The Status Conference currently scheduled for July 29, 2016 at 9:00 a.m. in Judge
36   Burrell’s Court be re-scheduled for August 26, 2016 at 9:00 a.m. in Judge Burrell’s Court. The
37   stipulated continuance is necessary because Defendant Leon Fields’s attorney requires
38   additional time to review the discovery in this matter and confer with Defendant.




     STIPULATION RE STATUS CONFERENCE AND PROPOSED ORDER                                         Page 1
       Case 2:15-cr-00118-KJM Document 93 Filed 07/29/16 Page 2 of 3



 1          Time should be excluded for defense attorney preparation pursuant to Local Code T4
 2   and the ends of justice outweigh the Defendant’s and the public’s interest in a speedy trial.
 3   Time should be excluded from speedy trial calculations from July 29, 2016 through and
 4   including August 26, 2016.
 5          It is so stipulated.
 6   Dated: July 28, 2016                          /s/ Paul Hemesath, Esq.____________
 7                                                 Paul Hemesath, Esq.
 8                                                 Assistant United States Attorney
 9                                                 Eastern District of California
10
11                                                 /s/ Kelly Babineau______________
12                                                 Kelly Babineau, Esq.
13                                                 Attorney for Defendant
14                                                 Earshell Hayes
15
16                                                 /s/ Gregory Foster_____________
17                                                 Gregory Foster
18                                                 Attorney for Defendant
19                                                 David William Dixon
20
21                                                 /s/ Philip Cozens_________________
22                                                 Philip Cozens
23                                                 Attorney for Defendant Leon Fields
24                                               ORDER
25                  The court, having read and considered the above-stipulation and finding good
26   cause therefore, orders that the Status Conference currently scheduled for July 29, 2016 at 9:00
27   a.m. in Judge Burrell’s Court be re-scheduled for August 26, 2016 at 9:00 a.m. in Judge
28   Burrell’s Court. Time is excluded for defense attorney preparation pursuant to Local Code T4

     STIPULATION RE STATUS CONFERENCE AND PROPOSED ORDER                                        Page 2
      Case 2:15-cr-00118-KJM Document 93 Filed 07/29/16 Page 3 of 3



1   and the court finds the ends of justice outweigh the Defendant’s and the public’s interest in a
2   speedy trial. Time will be excluded from speedy trial calculations from July 29, 2016 through
3   and including August 26, 2016.
4
5   Dated: July 28, 2016
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8




    STIPULATION RE STATUS CONFERENCE AND PROPOSED ORDER                                       Page 3
